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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

SDM HOLDINGS, LLC,                             )
                                               )
                    Plaintiff,                 )
                                               )
v.                                             )      Case No.: 09-CIV-0969-R
                                               )
REASSURE AMERICA LIFE INSURANCE                )
COMPANY,                                       )
                                               )
                    Defendant.                 )

                  PLAINTIFF'S REPLY IN SUPPORT OF
             MOTION TO ENFORCE SETTLEMENT AGREEMENT

      In its response to SDM’s Motion to Enforce Settlement Agreement, Reassure

acknowledges that the parties agreed on the essential terms of the settlement agreement

regarding the amount of the settlement payment and dismissal of the lawsuit. However,

Reassure failed to demonstrate any agreement by the SDM to the terms of the one-sided

release proposed by Reassure. The fact remains that Reassure contemplated SDM would

execute a release in its favor while SDM contemplated that the parties would execute

mutual releases. But the parties did not discuss, much less agree upon, the terms of the

releases when they made their settlement agreement. Further, if Reassure had informed

SDM that Reassure would refuse to execute a release of its claims against SDM, SDM

would not have agreed to the settlement.

      This litigation did not involve only claims by SDM against Reassure. To the

contrary, Reassure brought suit against SDM. Although the Court dismissed Reassure’s

claims without prejudice, SDM did not agree, and would not have agreed, to release


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Reassure without a reciprocal release from Reassure. The entire purpose of the settlement

was to end the litigation between the parties regarding the Policies. SDM did not, and

will not, agree to compromise its claims while leaving open the possibility that Reassure

might attempt to assert any type of claim against SDM in connection with the Policies.

       In its response, Reassure attempts to paint a cursory email exchange between

counsel on April 9th, after the parties reached their settlement agreement, as an agreement

by SDM to execute the unilateral release Reassure sent SDM three (3) weeks later. As

stated above, SDM contemplated the parties would each sign a release in favor of the

other. When Reassure’s counsel asked who would sign the release on behalf of SDM,

SDM’s counsel assumed that Reassure would be drafting a reciprocal release for the

parties to execute. SDM did not agree in the brief exchange of emails on April 9th to the

terms of the release proposed by Reassure on May 1, 2013.

       Reassure also asks the Court to order SDM to execute an 8-page document

containing, among numerous other terms requested by Reassure after the parties made

their settlement agreement, a broad release in favor of Reassure. As sole authority for its

request, Reassure relies on an Oklahoma court of appeals case, Coulter v. Carewell Corp.

of Oklahoma, 21 P.3d 1078, 2001 OK CIV APP 36. Unlike the instant matter, Coulter

did not involve cross-claims by the parties. Coulter involved a single claim brought by

the plaintiff against a nursing home. And unlike the present case, the defendant had not

asserted any claims against the plaintiff. Thus, their settlement did not require releases

by both parties. Additionally, the court’s decision in Coulter was based on its conclusion



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that the release did not alter the terms of the settlement and that the plaintiff would rather

settle than have the case proceed to trial. Coulter, at 1083. That is not true in the present

case. SDM would not have agreed to the settlement if Reassure had conditioned it on

SDM’s execution of a release without a reciprocal release from Reassure. The release

proposed by Reassure alters the settlement because it proposes new terms to the

agreement that are unacceptable to SDM. And, unlike the plaintiff in Coulter, SDM

would rather proceed to trial than execute the one-sided release proposed by Reassure.

       To the extent Coulter has any application here, its holding would also require

Reassure to execute a release of any claims that it has asserted or may assert against SDM

in connection with the Policies. SDM agreed to compromise its claims for one reason: to

resolve all litigation regarding any claims in connection with the Policies. Thus, applying

the rationale of Coulter, Reassure’s agreement to settle the claims between the parties

carried with it an implied obligation to execute a release of any claims Reassure has or

might assert against SDM relating to the Policies. Further, SDM’s compromise of its

claims provides ample consideration for Reassure’s release.

       Finally, Reassure argues that because its claims were dismissed without prejudice,

it "did not believe there were any pending claims from which it could release SDM." See

Reply, p. 2. This argument ignores the fact that the release proposed by Reassure would

have SDM release not only pending claims, but any claims "whether fixed or contingent,

known or unknown, matured or unmatured, foreseen or unforeseen, and whether or not

yet accrued or asserted, which the SDM Releasors ever had, now have or hereafter can,



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shall or may have for, upon or by reason of any matter, cause or thing arising from or

relating to the Policies or the Litigation…." See Exhibit 1 to Response to Motion to

Enforce Settlement Agreement, pp. 2, 3.          Clearly, Reassure believes that SDM can

appropriately release Reassure from claims that were not pending when the parties made

their settlement agreement on April 8th. Thus, Reassure’s argument that it cannot release

SDM from any and all such claims, whether pending or not, makes no sense.

       SDM agreed to accept $105,000 from Reassure in settlement of all claims in this

litigation. SDM did not agree to execute a broad release of any and all claims that it has

asserted, or may assert, without the same release from Reassure. There was no meeting

of the minds with regard to the terms of any releases. Nonetheless, the settlement can be

enforced by the Court.     The essential terms of the settlement agreement regarding

payment amount and dismissal of the litigation were agreed to by the parties. While a

written settlement agreement with mutual releases would be ideal, the settlement can be

effected by payment and dismissal of the litigation.

       WHEREFORE, SDM Holdings, LLC respectfully requests the Court to (1) order

Reassure America Life Insurance Company to remit payment in the amount of $105,000

to SDM Holdings, LLC and its counsel within five (5) days of the Court's order; and (2)

dismiss this matter, and claims asserted by the parties herein, with prejudice to refilling

after notice to the Court that the settlement payment has been paid in full. In the

alternative, SDM Holdings, LLC requests the Court set the matter for trial.




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                                          Respectfully submitted,

                                          s/ Shannon K. Emmons
                                          Melvin R. McVay, Jr. OBA#6096
                                          Shannon K. Emmons, OBA#14272
                                          Catherine L. Campbell, OBA#14689
                                          PHILLIPS MURRAH P.C.
                                          13th Floor | Corporate Tower
                                          101 N. Robinson
                                          Oklahoma City, OK 73102
                                          Telephone: (405) 235-4100
                                          Facsimile: (405) 235-4133
                                          mrmcvay@phillipsmurrah.com
                                          skemmons@phillipsmurrah.com
                                          clcampbell@phillipsmurrah.com

                                          Attorneys for Plaintiff SDM Holdings, LLC



                              CERTIFICATE OF SERVICE

       I hereby certify that on this 10th the day of July, 2013, I electronically transmitted
the foregoing document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:

        Lawrence R. Scheetz               lawrence.scheetz@dbr.com
        Stephen C. Baker                  stephen.baker@dbr.com
        Robert J. Mancuso                 robert.mancuso@dbr.com
        Larry D. Ottaway                  larryottaway@oklahomacounsel.com
        Amy Sherry Fisher                 amyfischer@oklahomacounsel.com
        Andrew M. Bowman                  andrewbowman@oklahomacounsel.com


                                          s/ Shannon K. Emmons


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